USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 1 of 7
USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 2 of 7
USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 3 of 7
USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 4 of 7
USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 5 of 7
USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 6 of 7
USDC IN/ND case 2:10-cv-00413-JTM-PRC document 1 filed 10/14/10 page 7 of 7
